Case 4:17-cv-01046 Document 1-3 Filed on 04/05/17 in TXSD Page 1 of 3




                   Exhibit B
Office ofCase
         Harris4:17-cv-01046     Document
                County District Clerk - Chris1-3 Filed on 04/05/17 in TXSD Page 2 of Page
                                             Daniel                                  3 1 of 2



 HCDistrictclerk.com            PARKER, SONIA vs. ALVAREZ, MIGUEL                                             4/5/2017
                                Cause: 201708824    CDI: 7  Court: 165

 APPEALS
 No Appeals found.

 COST STATMENTS
 No Cost Statments found.

 TRANSFERS
 No Transfers found.

 POST TRIAL WRITS
 No Post Trial Writs found.

 ABSTRACTS
 No Abstracts found.

 SETTINGS
 No Settings found.

 NOTICES
 No Notices found.

 SUMMARY
 CASE DETAILS                                                     CURRENT PRESIDING JUDGE
  File Date                   2/8/2017                            Court        1656
 Case (Cause) Location        Civil Intake 1st Floor              Address      201 CAROLINE (Floor: 12)
                                                                               HOUSTON, TX 77002
 Case (Cause) Status          Active - Civil
                                                                               Phone:7133686270
 Case (Cause) Type            Motor Vehicle Accident
                                                                  JudgeName    URSULA A. HALL
 Next/Last Setting Date       N/A
                                                                  Court Type   Civil
 Jury Fee Paid Date           2/8/2017



 ACTIVE PARTIES
 Name                                                  Type                                       Post Attorney
                                                                                                  Jdgm
 PARKER, SONIA                                         PLAINTIFF - CIVIL                                  ROEBUCK,
                                                                                                          JEFFREY
                                                                                                          THOMAS
 ALVAREZ, MIGUEL                                       DEFENDANT - CIVIL                                  LEWIS, F,
                                                                                                          BARHAM JR.
       2826 SHANNON OAK COURT, ST CLOUD, FL 34769

 SOSA ENTERPRISES CORP                                 DEFENDANT - CIVIL                                  LEWIS, F.
                                                                                                          BARHAM JR.
 SOSA ENTERPRISES CORP (A CORPORATION                  REGISTERED AGENT                                   LEWIS, F.
 BASED IN FLORIDA) BY SERVING                                                                             BARHAM JR.




http://www.hedistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=UNKt6jFWq5z... 4/5/2017
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                County District Clerk - Chris1-3 Filed on 04/05/17 in TXSD Page 3 ofPage
                                             Daniel                                 3 2 of 2


      2826 SHANNON OAK CT, ST CLOUD, FL 34769



 INACTIVE PARTIES
 No inactive parties found.

 JUDGMENT/EVENTS
 Date  Description                                   Order      Post Pgs Volume Filing                  Person
                                                     Signed     Jdgm     /Page Attorney                 Filing
 3/31/2017      ANSWER ORIGINAL PETITION                                0              LEWIS, F. BARHAM ALVAREZ, MIGUEL
                                                                                       JR.
 3/28/2017      ANSWER ORIGINAL PETITION                                0              LEWIS, F, BARHAM SOSA ENTERPRISES
                                                                                       JR.               CORP
 3/28/2017      ANSWER ORIGINAL PETITION                                0              LEWIS, F. BARHAM SOSA ENTERPRISES
                                                                                       JR.               CORP (A
                                                                                                         CORPORATION BASED
                                                                                                         IN FLORIDA) BY
                                                                                                         SERVING

 2/8/2017       JURY FEE PAID (TRCP 216)                                0
 2/8/2017       ORIGINAL PETITION                                       0              ROEBUCK, JEFFREY PARKER, SONIA
                                                                                       THOMAS



 SERVICES
 Type   Status               Instrument Person             Requested Issued Served Returned Received Tracking Deliver
                                                                                                              To
 CITATION SERVICE ORIGINAL                    SOSA        2/8/2017          2/9/2017                       73339707 MAIL TO
 (NON-      ISSUED/IN PETITION                ENTERPRISES                                                            ATTORNEY
 RESIDENT POSSESSION                          CORP (A
 CORPORATE) OF SERVING                        CORPORATION
            AGENCY                            BASED IN
                                              FLORIDA) BY
                                              SERVING
 CITATION_      SERVICE ORIGINAL              ALVAREZ,     2/8/2017         2/9/2017                       73339710 MAIL TO
 (NON-          ISSUED/IN PETITION            MIGUEL                                                                 ATTORNEY
 RESIDENT)      POSSESSION
                OF SERVING
                AGENCY



 DOCUMENTS
 Number             Document                                                                        Post Date           Pgs
                                                                                                    Jdgm
 74498870           Defendant Miguel Alvarez' Original Answer                                            03/31/2017     3

 74464684           Defendant Sosa Enterprises Corp's Original Answer                                    03/28/2017     3

 73760929           Plaintiffs Original Petition                                                         02/08/2017     5

  .> 73760930       Civil Case Information Sheet                                                         02/08/2017

  .> 73760931       Civil Process Request                                                                02/08/2017     1




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